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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )            Crim. No. 17-10378-NMG
                                                 )
BRIAN AUGUSTINE JOYCE,                           )
                                                 )
       Defendant.                                )

ASSENTED-TO MOTION FOR LEAVE TO FILE BRIEF IN EXCESS OF 20 PAGES IN
 SUPPORT OF ITS MOTION TO DISQUALIFY ATTORNEY HOWARD M. COOPER
      AND REQUEST FOR AUTHORIZATION TO ISSUE A SUBPOENA TO
                   ATTORNEY HOWARD M. COOPER

       Pursuant to Local Rule 7.1(B)(4), the United States of America, by and through the

undersigned Assistant U.S. Attorneys, respectfully moves this Court for leave to file a

memorandum in excess of 20 pages in support of its Motion to Disqualify Attorney Howard M.

Cooper and Request for Authorization to Issue a Subpoena to Attorney Howard M. Cooper.

       As grounds therefor, the government states that the motion to disqualify and its request to

issue a subpoena to Attorney Cooper addresses several legal issues that require a detailed recitation

of the applicable law and facts in this case. Max D. Stern and Howard M. Cooper, counsel for

Defendant Joyce, assent to this motion.

       Wherefore, the government respectfully requests that it be granted leave pursuant to

Local Rule 7.1(B)(4) to file an opposition that exceeds the 20 pages.

                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      United States Attorney

 Dated: February 23, 2018                     By:     /s/ William F. Bloomer
                                                      DUSTIN CHAO
                                                      WILLIAM F. BLOOMER
                                                      Assistant U.S. Attorneys
                                                       (617) 748-3100
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                                 CERTIFICATE OF SERVICE

        I, William F. Bloomer, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF).

                                                      /s/William F. Bloomer
                                                      WILLIAM F. BLOOMER
                                                      Assistant U.S. Attorney




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